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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO 1:18-cv-24407-UU

     MARCELO PENA, et al.,

           Plaintiffs,

     v.

     JOHN C. HEATH, ATTORNEY AT LAW,
     PLLC D/B/A LEXINGTON LAW FIRM.,

           Defendant,

     ______________________________________/


                         ORDER GRANTING FINAL APPROVAL TO
                    CLASS ACTION SETTLEMENT AND FINAL JUDGMENT

          On November 27, 2019, the Court granted preliminary approval to the proposed class action

 settlement set forth in the Settlement Agreement and Release (the “Settlement Agreement”) between

 Plaintiffs James Lebowitz, Frank Eisenband, Joshua Elser, Marcelo Pena, and Craig Cunningham

 (“Plaintiffs”), on behalf of himself and all members of the Settlement Class as modified herein,1 and

 Defendant John C. Heath, Attorney At Law, PLLC d/b/a Lexington Law Firm (“Defendant”)

 (collectively, the “Parties”). D.E. 56, corrected by D.E. 57. The Court also provisionally certified the

 Settlement Classes for settlement purposes, approved the procedure for giving Class Notice to the

 members of the Settlement Classes, and set a Final Approval Hearing to take place on March 31, 2020.

 Id.




 1
  Unless otherwise defined or modified in this Order, capitalized terms herein have the definitions
 found in the Settlement Agreement.

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         On March 31, 2020, the Court held a duly noticed Final Approval Hearing to consider: (1)

 whether the terms and conditions of the Settlement Agreement are fair, reasonable, and adequate; (2)

 whether a judgment should be entered dismissing the Plaintiffs’ Complaint on the merits and with

 prejudice in favor of Defendant and against all persons or entities who are Settlement Class Members

 herein who have not requested exclusion from the Settlement Class; and (3) whether and in what amount

 to award counsel for the Settlement Class as Attorneys’ Fees and Expenses and whether and in what

 amount to award a Service Award to Plaintiffs.

         The Court did not grant final approval on March 31, 2020, and raised several areas of concerns

 as detailed in the Court’s Order, D.E. 63, denying the Motion for Final Approval. On April 10, 2020,

 the Plaintiffs renewed their Motion for Final Approval, addressing some of the issues raised

 by the Court in its Order, D.E. 67. Accordingly, the Motion, D.E. 67, is hereby GRANTED IN

 PART WITH RULING RESERVED IN PART, pursuant to the findings and terms set forth

 below. NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

 I.      JURISDICTION OF THE COURT

         1.      The Court has personal jurisdiction over the parties and the Settlement Class Members,

 venue is proper, and the Court has subject matter jurisdiction to approve the Agreement, including all

 Exhibits thereto, and to enter this Final Approval Order. Without in any way affecting the finality of

 this Final Approval Order, this Court hereby retains jurisdiction as to all matters relating to

 administration, consummation, enforcement, and interpretation of the Settlement Agreement and of this

 Final Approval Order, and for any other necessary purpose.

         2.      The Settlement Agreement was negotiated at arm’s length by experienced counsel who

 were fully informed of the facts and circumstances of this litigation (the “Action”) and of the strengths

 and weaknesses of their respective positions. The Settlement Agreement was reached after the Parties



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 had engaged in mediation and extensive settlement discussions and after the exchange of information,

 including information about the size and scope of the Settlement Class. Counsel for the Parties were

 therefore well positioned to evaluate the benefits of the Settlement Agreement, taking into account the

 expense, risk, and uncertainty of protracted litigation.

         3.      The Court finds that the prerequisites for a class action under Fed. R. Civ. P. 23 have

 been satisfied for settlement purposes for each Settlement Class Member in that: (a) the number of

 Settlement Class Members is so numerous that joinder of all members thereof is impracticable; (b) there

 are questions of law and fact common to the Settlement Class; (c) the claims of Plaintiffs are typical of

 the claims of the Settlement Class he seeks to represent; (d) Plaintiffs have and will continue to fairly

 and adequately represent the interests of the Settlement Class for purposes of entering into the

 Settlement Agreement; (e) the questions of law and fact common to the Settlement Class Members

 predominate over any questions affecting any individual Settlement Class Member; (f) the Settlement

 Class is ascertainable; and (g) a class action is superior to the other available methods for the fair and

 efficient adjudication of the controversy.

 II.     CERTIFICATION OF SETTLEMENT CLASS

         4.      Pursuant to Fed. R. Civ. P. 23, this Court hereby finally certifies the Settlement

 Classes, as identified in the Settlement Agreement:

         Settlement Class No. 1: All persons in the United States: (1) who received a
         telephone call and/or text message from July 12, 2013 to the date of preliminary
         approval based on information gathered by one or more of the following third-party
         lead generators - RTK Media, Inc., Capital Leads, LLC, Fluent, LLC, and Credit
         Sesame, and (2) the telephone call or text message in (1) resulted in a telephone
         conversation with a representative of Lexington or a text message that referenced
         "Lexington Law."

         Settlement Class No. 2: All persons in the United States: (1) who received an
         unsolicited telephone call from a representative of Lexington, from July 12, 2013
         to the date of preliminary approval, wherein the Lexington representative obtained
         a copy of such person's credit report, (2) who did not sign up for Lexington's credit


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         repair services on that phone call, and (3) who did not opt-out of receiving text
         messages from Lexington.


 III.    APPOINTMENT OF CLASS REPRESENTATIVES AND CLASS COUNSEL

         5.      The Court finally appoints Kazerouni Law Group, APC, Hyde & Swigart, Law Offices

 of Todd M. Friedman, P.C., Hiraldo P.A., Shamis & Gentile, P.A., DeNittis Osefchen Prince, P.C.

 and Edelsberg Law as Class Counsel for the Settlement Class.

         6.      The Court finally designates Plaintiffs James Lebowitz, Frank Eisenband, Joshua Elser,

 Marcelo Pena, and Craig Cunningham as the Class Representatives.

 IV.     NOTICE AND CLAIMS PROCESS

         7.      The Court makes the following findings on notice to the Settlement Class:

                 (a)     The Court finds that the distribution of the Class Notice, as provided for in the

 Settlement Agreement, (i) constituted the best practicable notice under the circumstances to Settlement

 Class Members, (ii) constituted notice that was reasonably calculated, under the circumstances, to

 apprise Settlement Class Members of, among other things, the pendency of the Action, the nature and

 terms of the proposed Settlement, their right to object or to exclude themselves from the proposed

 Settlement, and their right to appear at the Final Approval Hearing, (iii) was reasonable and constituted

 due, adequate, and sufficient notice to all persons entitled to be provided with notice, and (iv) complied

 fully with the requirements of Fed. R. Civ. P. 23, the United States Constitution, the Rules of this Court,

 and any other applicable law.

                 (b)     The Court finds that the Class Notice and methodology set forth in the

 Settlement Agreement, the Preliminary Approval Order, and this Final Approval Order (i) constitute

 the most effective and practicable notice of the Final Approval Order, the relief available to Settlement

 Class Members pursuant to the Final Approval Order, and applicable time periods; (ii) constitute due,



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 adequate, and sufficient notice for all other purposes to all Settlement Class Members; and (iii) comply

 fully with the requirements of Fed. R. Civ. P. 23, the United States Constitution, the Rules of this Court,

 and any other applicable laws.

 V.      FINAL APPROVAL OF THE CLASS ACTION SETTLEMENT

         8.      The Settlement Agreement, except for the amount of Plaintiffs’ attorneys fees, is finally

 approved in all respects as fair, reasonable and adequate. The terms and provisions of the Settlement

 Agreement, including all Exhibits thereto, other than relating to attorneys fees, have been entered into

 in good faith and are hereby fully and finally approved as fair, reasonable, and adequate as to, and in the

 best interests of, each of the Parties and the Settlement Class Members. This approval, however,

 leaves open the Court’s forthcoming decision on Class Counsel’s request for attorneys’ fees—

 which decision, pursuant to the Settlement Agreement § III.D.2, will not affect the effectiveness

 or enforceability of the Settlement.

 VI.     ADMINISTRATION OF THE SETTLEMENT

         9.      The Parties are hereby directed to implement the Settlement Agreement according to its

 terms and provisions. The Administrator is directed to provide Claim Settlement Payments to those

 Settlement Class Members who submit valid, timely, and complete Claims.

         10.     The Court hereby reserves ruling on Class Counsel’s request for attorneys’ fees.

 However, the Court grants Class Counsel’s request for costs as follows: Kazerouni Law Group is

 entitled to $34,159.03 in costs (D.E. 67-1 ¶ 13); Law Offices of Todd M. Friedman, P.C. is entitled

 to $500.00 in costs (D.E. 67-2 ¶ 15); and Edelsberg Law is entitled to $970.00 in costs (D.E. 67-7 ¶

 11).




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         13.     The Court awards a Service Award in the amount of $2,500.00 each to Plaintiffs James

 Lebowitz, Frank Eisenband, Joshua Elser, Marcelo Pena, and Craig Cunningham, payable pursuant to

 the terms of the Settlement Agreement.

 VII.    RELEASE OF CLAIMS

         14.     Upon entry of this Final Approval Order, all members of the Class who did not validly

 and timely submit Requests for Exclusion in the manner provided in the Agreement shall, by operation

 of this Final Approval Order, have fully, finally and forever released, relinquished and discharged

 Defendant and the Released Parties from the Released Claims as set forth in the Settlement Agreement,

 except that the Released Claims are limited solely to claims directly arising under the Telephone

 Consumer Protection Act, 47 U.S.C. § 227 et seq.

         15.     Furthermore, all members of the Class who did not validly and timely submit Requests

 for Exclusion in the manner provided in the Agreement are hereby permanently barred and enjoined

 from filing, commencing, prosecuting, maintaining, intervening in, participating in, conducting or

 continuing, either directly or in any other capacity, either individually or as a class, any action or

 proceeding in any court, agency, arbitration, tribunal or jurisdiction, asserting any claims released

 pursuant to the Settlement Agreement, or seeking an award of fees and costs of any kind or nature

 whatsoever and pursuant to any authority or theory whatsoever, relating to or arising from the Action

 or that could have been brought in the Action and/or as a result of or in addition to those provided by

 the Settlement Agreement.

         16.     The terms of the Settlement Agreement and of this Final Approval Order, including all

 Exhibits thereto, shall be forever binding on, and shall have res judicata and preclusive effect in, all

 pending and future lawsuits maintained by Plaintiffs and all other Settlement Class Members, as well

 as their heirs, executors and administrators, successors, and assigns.



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           17.   The Released Parties are forever released and relinquished from the Released Claims,

 as that term is defined above and in the Settlement Agreement as modified in paragraph 14 of this

 Order.

           18.   Plaintiffs and all Settlement Class Members who did not timely exclude themselves

 from the Settlement Class are, from this day forward, hereby permanently barred and enjoined

 from directly or indirectly: (i) asserting any Released Claims in any action or proceeding; (ii) filing,

 commencing, prosecuting, intervening in, or participating in (as class members or otherwise), any

 lawsuit based on or relating to any the Released Claims or the facts and circumstances relating thereto;

 or (iii) organizing any Settlement Class Members into a separate class for purposes of pursuing as a

 purported class action any lawsuit (including by seeking to amend a pending complaint to include class

 allegations, or seeking class certification in a pending action) based on or relating to any of the Released

 Claims.

 VIII. NO ADMISSION OF LIABILITY
           19.   Neither the Settlement Agreement, nor any of its terms and provisions, nor any of the

 negotiations or proceedings connected with it, nor any of the documents or statements referred to

 therein, nor this Final Approval Order, nor any of its terms and provisions, shall be:

                 (a)     offered by any person or received against Defendant or any Released Party as

 evidence of, or construed as or deemed to be evidence of, any presumption, concession, or admission

 by Defendant of the truth of the facts alleged by any person, the validity of any claim that has been or

 could have been asserted in the Action or in any other litigation or judicial or administrative proceeding,

 the deficiency of any defense that has been or could have been asserted in the Action or in any litigation,

 or of any liability, negligence, fault, or wrongdoing by Defendant or any Released Party;




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                 (b)     offered by any person or received against Defendant or any Released Party as

 evidence of a presumption, concession, or admission of any fault or violation of any law by Defendant

 or any Released Party; or

                 (c)     offered by any person or received against Defendant or any Released Party as

 evidence of a presumption, concession, or admission with respect to any liability, negligence, fault, or

 wrongdoing in any civil, criminal, or administrative action or proceeding.

 IX.     OTHER PROVISIONS

         20.     This Final Approval Order and the Settlement Agreement (including the Exhibits

 thereto) may be filed in any action against or by any Released Party (as that term is defined

 herein and the Settlement Agreement) to support a defense of res judicata, collateral estoppel,

 release, good faith settlement, judgment bar or reduction, or any theory of claim preclusion or

 issue preclusion or similar defense or counterclaim.

         21.     Without further order of the Court, the Settling Parties may agree to reasonably

 necessary extensions of time to carry out any of the provisions of the Settlement Agreement.

         22.     In the event that the Effective Date does not occur, this Final Approval Order shall

 automatically be rendered null and void and shall be vacated and, in such event, all orders entered and

 releases delivered in connection herewith shall be null and void. In the event that the Effective Date

 does not occur, the Settlement Agreement shall become null and void and be of no further force

 and effect, neither the Settlement Agreement nor the Court’s Orders, including this Order, shall be used

 or referred to for any purpose whatsoever, and the Parties shall retain, without prejudice, any and all

 objections, arguments, and defenses with respect to class certification, including the right to argue that

 no class should be certified for any purpose, and with respect to any claims or allegations in this Action.




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        23.     This Action, including all individual claims and class claims presented herein, is

 hereby dismissed on the merits and with prejudice against Plaintiffs and all other Settlement Class

 Members, without fees or costs to any party except as otherwise provided herein and upon further

 ruling by the Court.

        THE CLERK OF COURT SHALL ADMINISTRATIVELY CLOSE THIS CASE.

        DONE and ORDERED in Chambers in Miami, Florida, this _15th___ day of April, 2020.


                                                      __________________________________
                                                      URSULA UNGARO
                                                      UNITED STATES DISTRICT JUDGE

 Copies furnished to: Counsel of Record




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